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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

    SIGHT SCIENCES, INC.,                   )
                                            )
                 Plaintiff,                 ) Redacted - Public Version
                                            )
      v.                                    ) C.A. No. 21-1317-GBW-SRF
                                            )
    IVANTIS, INC., ALCON RESEARCH           )
    LLC, ALCON VISION, LLC, and ALCON       )
    INC.,                                   )
                                            )
                 Defendants.                )


                  LETTER TO THE HONORABLE SHERRY R. FALLON
                            FROM KAREN E. KELLER


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    Dated: August 8, 2023
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   Dear Judge Fallon:

   Sight Sciences, Inc.’s (“Sight”) current motion contradicts this Court’s July 24, 2023 Order and
   Sight’s own arguments in this case. Two weeks ago, Sight argued that excluding relevant evidence
   because it was produced after the close of fact was an “extreme sanction,” warranted only after “a
   showing of willful deception or flagrant disregard[.]” D.I. 262 at 2 (quoting Meyers v. Pennypack
   Woods Home Ownership Assn., 559 F.2d 894, 904-05 (3d Cir. 1977)). Sight took this position
   because it waited to produce evidence after discovery ended and only a few hours before the
   deposition of the custodian of that evidence. The Court allowed that evidence, in large part because
   it found that any prejudice from the late production could be cured through a deposition, and there
   was no evidence of bad faith. D.I. 256.

   That analysis also applies here, and the Court should permit Alcon’s relevant evidence and deny
   Sight’s Motion. While preparing to depose Paul Badawi, Sight’s CEO, Alcon discovered that Mr.
   Badawi had communicated with Catherine Truitt, an Alcon employee, regarding a potential
   investment by Alcon into Sight. Surprisingly, however, Sight produced only a single document
   bearing Ms. Truitt’s name, despite the fact that Mr. Badawi was an ESI custodian who testified he
   never deleted a single work-related email since 2006. See Ex. 1 ( June 23, 2023 Badawi Dep. Tr.
   at 188:10-12) (“I can say this to you, all of my Sight Sciences documents and emails exist, and
   nothing has been deleted. Nothing.”); see also Ex. 2 (June 26, 2023 Badawi Dep. Tr. at 273:2–
   277:12). Because Sight sought a 30(b)(6) witness on a topic related to discussions between Alcon
   and Sight, Alcon amended its initial disclosures, listed Ms. Truitt as knowledgeable regarding
   those discussions, and offered her for deposition. Alcon then investigated whether Ms. Truitt had
   relevant documents and produced documents identified by Ms. Truitt as related to those
   discussions and Ms. Truitt’s emails with Paul Badawi. Those 190 documents, all but five of which
   were sent to or from Sight Sciences or Mr. Badawi directly as CEO, were produced two weeks
   prior to Ms. Truitt’s initially scheduled deposition date, giving Sight ample time to review. Now,
   Sight asks the Court to preclude Alcon’s reliance on those documents, despite the fact that Sight
   should have produced the very same documents long before. Sight tilts at a prejudice argument,
   yet none exists. And if any prejudice did exist, it is the result of Sight’s failure to produce
   documents during fact discovery, not Alcon’s. The Court should deny Sight’s motion.

   I.     Factual Background

   Sight’s “factual” background section is riddled with inaccuracies, suggesting that Alcon refused
   to produce the types of documents it recently produced. That is untrue. Contrary to Sight’s
   assertions, at no point did Alcon refuse to produce documents responsive to RFP Nos. 156 and
   157; rather, recognizing that RFP No. 156 appeared to ask for additional ESI custodians by listing
   seven individuals (all of whom are former employees), and that RFP No. 157 sought documents
   dated more than six years prior to the filing of the Complaint (without setting forth the required
   good cause), Defendants requested to meet and confer regarding the scope of these requests.
   During the meet-and-confer, Defendants asked Sight for additional information regarding the
   scope, context, and relevance of RFP Nos. 156 and 157 to determine whether Defendants would
   agree to produce potentially responsive documents despite the facial shortcomings of the requests.
   Sight agreed to follow up with such information, but in the follow-up correspondence, Sight simply
   stated that it considered RFP Nos. 156 and 157 “to be resolved.” D.I. 264, Ex. 5. Sight sought



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   nothing further with respect to these RFPs; thus Alcon assumed Sight had dropped the issue. Yet
   Sight subsequently served a 30(b)(6) notice on May 4, 2023 seeking testimony regarding Alcon’s
   “interactions… with Paul or David Badawi.” See Ex. 3 (Sight’s 30(b)(6) Notice to Alcon) at Topic
   No. 66.

   Notably, Catherine Truitt, Senior Director, External Innovation and Corporate Strategy at Alcon,
   was not one of the individuals listed in RFP No. 156, and therefore, Alcon was unaware of her,
   which is not unsurprising given that Alcon employs thousands of individuals. It was not until
   preparing for the June 23 and 26, 2023 deposition of Paul Badawi, Sight’s CEO (the head of a
   roughly 10 to 200-person company over the time period), that Defendants first became aware of
   Ms. Truitt, whose name appeared on a single document produced by Sight. See Ex. 4
   (SGHT0130748); D.I. 264, Ex. 7. Upon discovering this information, Defendants promptly
   amended their Initial Disclosures to include Ms. Truitt and designated Ms. Truitt as the Alcon
   corporate designee on Sight’s 30(b)(6) Topic 66 to Alcon, which asked for testimony regarding
   “[a]ll interactions You have had with Paul or David Badawi.” 1 See D.I. 264, Exs. 6–8. Defendants
   also offered Ms. Truitt for deposition on July 27, immediately following her return from a
   previously scheduled trip to her native country of France with her family. See D.I. 264, Ex. 7. After
   Sight rejected Defendants’ proffered July 27 deposition date and waited two weeks to propose an
   alternative, the parties agreed to hold Ms. Truitt’s deposition on August 4. See Ex. 5 (July 7, 2023
   email from N. Frank); D.I. 264, Ex. 3 at 2.

   In the weeks that followed, Defendants worked diligently to locate and review any
   communications between Ms. Truitt and Paul Badawi and documents related to those discussions.
   Defendants produced 190 documents, 149 of which are emails and attachments that include Paul
   Badawi on the correspondence. Defendants produced those documents to Sight on July 21, 2023,
   two weeks before Ms. Truitt’s agreed-upon deposition date. See D.I. 264, Ex. 3 at 1–2. Notably,
   these documents should have been produced by Sight, as Mr. Badawi was an ESI custodian, and
   the large majority of them hit on the parties’ search terms. Of the remaining 41 documents in the
   production, all of which were located on an archive identified by Ms. Truitt that was produced in
   full, 36 appear to have been provided to Alcon by Sight. As Sight admits, only five documents in
   the production are Alcon internal documents, all of which are presentations directly related to the
   discussions between Alcon and Sight and information received from Sight. While Sight has
   overstated the size of the production as being “nearly 1000 pages,” only 38 of the 828 pages
   produced were internal to Alcon.

   Despite producing these documents two weeks prior to Ms. Truitt’s agreed-upon deposition date,
   Sight requested the deposition be rescheduled to August 24, 2023, one week after rebuttal expert
   reports. See D.I. 264, Ex. 16.

   II.      Legal Standard



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         Defendants had not previously designated a witness on Topic 66, as Defendants were unaware
         of any interactions between the Badawis and Alcon, nor had Sight identified a knowledgeable
         witness.


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   “The exclusion of critical evidence is an ‘extreme’ sanction, not normally to be imposed absent a
   showing of willful deception or ‘flagrant disregard’ of a court order by the proponent of the
   evidence.” Pennypack, 559 F.2d at 905 (quoting Dudley v. South Jersey Metal, Inc., 555 F.2d 96,
   99 (3d Cir. 1977)). The Pennypack factors all favor denial of Sight’s motion.

          A.      Factor No. 1 (Importance of the Information)

   Sight’s argument regarding importance is illogical because if the documents were not important,
   Sight would not have asked for them during discovery and would not now be moving the Court to
   preclude. In any event, the documents are relevant because they evidence a litigation-independent
   viewpoint regarding the value of the technology at issue in this case. See, e.g., D.I. 264, Ex. 10.
   These communications thus rebut Sight’s damages demands, weighing against their exclusion.
   And while Sight suggests that patent infringement relates only to Defendants’ technology, that is
   nonsensical; of course Sight’s Asserted Patents relate to Sight’s technology, which it claims
   embodies its patents. See Ex. 6 (Pl.s Objs. & Resps. to Defs’ Interrog. No. 14).
          B.      Factor No. 2 (Prejudice or Surprise) and No. 4 (Possibility of Curing)

   Sight cannot credibly make a showing of prejudice given the overwhelming majority of these
   documents are correspondence with Sight’s own witness, Paul Badawi, the CEO and Co-
   Founder of Sight and co-inventor on all of the Asserted Patents in this case. As Sight admits, all
   but five of the non-email documents were sent to or from Paul Badawi or Sight; thus, Sight should
   have already possessed these documents and should have produced them. See Daugherty v. Ocwen
   Loan Servicing, LLC, 701 F. App’x 246, 253 (4th Cir. 2017) (“because [Defendant] already had
   its own copies of the same documents, any untimely disclosure by [Plaintiff] was harmless”);
   Crawford v. George & Lynch, Inc., 19 F. Supp. 3d 546, 552-53 (D. Del. 2013) (no prejudice when
   late-produced documents contained information already in the record). Sight’s failure to produce
   these documents during fact discovery calls into question Sight’s document preservation (given it
   believed since at least 2009 that Ivantis infringed) as well as the reasonableness of Sight’s
   document collection, review, and production. See Ex. 1 (June 23, 2023 Badawi Dep. Tr. at 89:17–
   22). And while Sight complains that Alcon has selectively produced documents or not produced
   underlying documents, Alcon produced the entirety of the archive identified by Ms. Truitt. To the
   extent Sight has questions about the final assessments, they can ask Ms. Truitt. Thus, any prejudice
   to the Sight is cured by its ability to depose Ms. Truitt regarding the produced communications on
   August 24, by which time Sight will have had nearly five weeks to review the documents and
   prepare for Ms. Truitt’s deposition. Helios Software, LLC v. SpectorSoft Corp., 2014 WL
   3611321, at *2 (D. Del. July 18, 2014) (denying motion to exclude evidence in part because the
   prejudice could “be cured by a short deposition”); Callwave Commc’ns, L.L.C. v. AT&T Mobility
   LLC, 2015 WL 13730253 (D. Del. Dec. 17, 2015) (same).

   Grasping at straws, Sight argues that any prejudice cannot reasonably be cured because it is too
   late to depose the authors of the produced internal Alcon presentations, including one Jennifer
   Brady. D.I. 264 at 3. That argument fails. Jennifer Brady was a third-party consultant, employed
   by MSL Group, who created the underlying presentation template. See Ex. 7 (Jennifer Brady
   LinkedIn Profile). Ms. Truitt is the custodian of the documents, has personal knowledge about
   them, and will testify about them as a 30(b)(6) witness. See D.I. 264, Exs. 6–8. As to the single


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   remaining presentation, Ms. Truitt is listed as the first author. See D.I. 264, Ex. 13 at
   IVANTIS_SS_00459004. Sight musters a complaint that it will not have the opportunity to depose
   the other four authors, but that rings hollow. 2

          C.      Factor No. 3 (Likelihood of Disrupting Trial)

   Trial will not be disrupted by the production of or reliance upon these documents. These
   communications and related documents were produced just weeks after the close of fact discovery.
   See D.I. 264, Ex. 3 at 1–2. Further, while the communications are unlikely to impact expert
   discovery, they were produced well in advance of the deadline for rebuttal expert reports (August
   17, 2023), reply reports (September 7, 2023), and expert depositions, which have yet to be
   scheduled. Likewise, Defendants offered Ms. Truitt for deposition on July 27, 2023, well in
   advance of expert discovery deadlines. Sight chose not to accept that date, instead pushing Ms.
   Truitt’s deposition until after rebuttal reports.

          D.      Factor No. 5 (Explanation) and 6 (Bad Faith or Willfulness)

   Defendants were not willful in “failing” to disclose Ms. Truitt or by allegedly delaying production
   of responsive documents. Courts in the Third Circuit tend to reserve a finding of willfulness or bad
   faith “for clear, extreme examples of such conduct.” Novartis Pharms. Corp. v. Actavis, Inc., 2013
   WL 7045056 at *11 (D. Del. Dec. 23, 2013); Withrow v. Spears, 967 F. Supp. 2d 982, 1006 (D.
   Del. Aug. 22, 2013) (denying exclusion of evidence where the record would not “support the type
   of heightened or ‘egregious’ showing required by the Circuit’s case law”). Sight’s unfounded lack-
   of-diligence argument cannot support the extreme remedy of excluding this critical evidence, as
   the Third Circuit has held that “‘[l]ack of diligence’ does not constitute bad faith.” In re Paoli R.R.
   Yard Pcb Litig., 35 F.3d 717, 793 (3d Cir. 1994).

   Alcon is the world’s largest ophthalmic company with approximately 25,000 employees, of which
   Ms. Truitt is but one. Because Ms. Truitt was not an ESI custodian, Defendants had no obligation
   to search her documents or email. Indeed, Defendants were unaware of Ms. Truitt’s involvement
   until Mr. Badawi’s deposition, after which Defendants promptly updated their Initial Disclosures
   and notified Sight that Ms. Truitt was going to testify regarding communications between Alcon
   and Sight. See D.I. 264, Exs. 6–8. Further, Defendants worked diligently to identify, collect, and
   produce those potential communications two weeks before Ms. Truitt’s initially scheduled
   deposition, providing more than enough time to review these documents and prepare for Ms.
   Truitt’s deposition. The Court should deny Sight’s motion.


   2
       The cases cited by Plaintiff are inapposite. See Bridgestone Sports Co., Ltd. v. Acushnet Co.,
       2007 WL 9811093, at *2 (D. Del. May 24, 2007) (prejudice where defendants sought to rely
       on results of a test but plaintiff could not cross-examine where physical samples and
       measurements had been lost or destroyed); Liqwd, Inc. V. L’Oreal USA, Inc., 2019 WL
       7945247, at *1-2 (D. Del. June 25, 2019) (prejudice where witnesses were disclosed well after
       the close of fact and expert discovery, deadline for dispositive motions had passed, and trial
       was only 30 days away); Finch v. Hercules Inc., 1995 WL 785100, at *9-10 (D. Del. Dec. 22,
       1995) (excluding trial witness and documents disclosed on eve of trial).


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                                          Respectfully submitted,

                                          /s/ Karen E. Keller

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   cc:   Clerk of Court (by CM/ECF & Hand Delivery)
         All Counsel of Record (by CM/ECF & Email)




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                                    CERTIFICATE OF SERVICE

          I, Karen E. Keller, hereby certify that on August 8, 2023, this document was served on

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                           EXHIBIT 1
                           (excerpted)
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                           EXHIBIT 2
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                           EXHIBIT 3
                           (excerpted)
Case 1:21-cv-01317-GBW-SRF Document 271 Filed 08/15/23 Page 22 of 45 PageID #: 9915




                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF DELAWARE

  SIGHT SCIENCES, INC.,                               )
                                                      )         C. A. No.: 21-1317-GBW-SRF
                 Plaintiff,                           )
                                                      )         JURY TRIAL DEMANDED
                              v.                      )
                                                      )
  IVANTIS, INC., ALCON RESEARCH LLC,                  )
  ALCON VISION, LLC AND ALCON INC.,                   )
                                                      )
                 Defendants.                          )

               PLAINTIFF SIGHT SCIENCES, INC.’S NOTICE OF DEPOSITION
                  OF ALCON INC. PURSUANT TO FED. R. CIV. P. 30(b)(6)

          PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

   Procedure, counsel for Plaintiff Sight Sciences, Inc. (“Plaintiff” or “Sight”) will take the deposition

   by oral examination of Defendant Alcon Inc. (“Defendant” or “Alcon”), on the topics set forth in

   the attached Exhibit A, through one or more officers, directors, agents, or other persons designated

   by Alcon to testify on its behalf.

          Sight requests that Alcon provide any objections within ten (10) business days of this

   notice. Sight also requests that Alcon provide written notice at least five (5) business days in

   advance of the deposition of: (1) the name(s) of each designee who has consented to testify on

   behalf of Alcon; (2) the job title of each such person; and (3) the topic(s) set forth in Exhibit A on

   which each such person will testify.

          The deposition will take place before an officer duly authorized by law to administer oaths

   commencing at 9AM ET on June 15, 2023 at Young Conaway Stargatt & Taylor LLP, Rodney

   Square, 1000 North King Street, Wilmington, Delaware 19801, unless an alternative date or dates

   and location mutually convenient for both parties is confirmed in writing. The testimony will be

   recorded by any means permitted by the Federal Rules of Civil Procedure, including, without
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   limitation, stenographically, by video, and/or by instant visual display of testimony using LiveNote

   software or equivalent technology. The deposition will continue from day to day until completed,

   with such adjournments as to time and place as may be necessary.

          The deposition will be taken for the purposes of discovery and all other purposes permitted

   by the Federal Rules of Civil Procedure.

                                              YOUNG CONAWAY STARGATT & TAYLOR, LLP

                                                           /s/ Melanie K. Sharp
                                              ____________________________________________
                                              Melanie K. Sharp (No. 2501)
                                              James L. Higgins (No. 5021)
                                              Taylor E. Hallowell (No. 6815)
   COOLEY LLP                                 1000 North King Street
   Michelle S. Rhyu                           Wilmington, DE 19801
   David Murdter                              (302) 571-6600
   Priyamvada Arora                           msharp@ycst.com
   Lauren Strosnick                           jhiggins@ycst.com
   Alissa Wood                                thallowell@ycst.com
   3175 Hanover Street
   Palo Alto, CA 94304-1130
   (650) 843-5000                             Attorneys for Sight Sciences, Inc.

   Orion Armon
   1144 15th Street, Suite 2300
   Denver, CO 80202-2686
   (720) 566-4000

   Allison E. Elkman
   1299 Pennsylvania Avenue, NW
   Suite 700
   Washington, DC 20004-2400
   (202) 842-7800


   Dated: May 4, 2023




                                                    2
Case 1:21-cv-01317-GBW-SRF Document 271 Filed 08/15/23 Page 24 of 45 PageID #: 9917




   known address and telephone number; (iii) all known email addresses; and (iv) last known title.

            16.    “Identify,” “Identifies,” and “Identification” when used with respect to any legal

   entity, such as a corporation, company, or person other than a natural person, mean that the

   following information shall be provided: (i) the entity’s name; (ii) the place of incorporation or

   organization; (iii) the principal place of business; and (iv) the nature of the business conducted by

   that legal entity.

            17.    “Any” shall be understood to include and encompass “all” and/or “each” and vice

   versa, as necessary to bring within the scope of the Request all information that might otherwise

   be construed to be outside of its scope.

            18.    “And/Or” shall be construed disjunctively or conjunctively as necessary to bring

   within the scope of a Topic any information that might otherwise be construed to be outside its

   scope.

                                              DEPOSITION TOPICS

            1.     Your organizational structure as it relates to the Accused Products, including the

   identity and roles of the departments, groups, or personnel involved in conception, design,

   development, manufacturing, testing, regulatory submissions, sales (including sales team training

   and outreach to physicians), marketing and distribution (nationally and internationally), finance,

   mergers and acquisitions, and patent and legal departments.

            2.     The corporate relationship between each Defendant to this lawsuit from 2015 to

   present, and the role of each Defendant with respect to the Accused Product.

            3.     Information regarding how the Company maintains Documents, including those

   related to: conception, design, development, testing, regulatory submissions, sales, outreach to

   physicians, marketing and distribution (nationally and internationally), finance, mergers and



                                                    4
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   infringement.

           62.     The terms You would have sought from Sight for a license to Any of the Patents-

   in-Suit, Any information that would have affected the royalty that You would have negotiated for

   such a license, and the royalty You would pay for such a license if one were offered.

           63.     Your knowledge of Sight’s patent applications and patents, including but not

   limited to the Patents-in-Suit, including (i) the earliest date and the circumstances by which You

   first became aware of the existence of Any patent owned by Sight or Any patent application filed

   by Sight; (ii) the earliest date and the circumstances by which You first became aware of the

   existence of each of the Patents-in-Suit and of the patent application to which the Patents-in-Suit

   claim priority (U.S. App. No. 11/475,523), which was published as U.S. Publ. No. 2007/0298068;

   (iii) the earliest date and the circumstances by which You first became aware of a risk that Any of

   Your products or services infringed the Patents-in-Suit or Any other patent owned by Sight; and

   (iv) Any consideration, analysis, study, examination, reverse engineering, or copying of Sight’s

   patents, including the Patents-in-Suit, by You or Any Person or entity acting on Your behalf.

           64.     Any analyses You have conducted pertaining to the valuation of the Accused

   Products and/or Any of the Patents-in-Suit, including Any patent licenses or agreements that You

   contend are relevant to the value of the Accused Products or Patents-in-Suit.

           65.     Your understanding of Sight’s development of devices embodying the Patents-in-

   Suit.

           66.     All interactions You have had with Paul or David Badawi.

           67.     Your policies, procedures, or programs Relating to licensing or use of intellectual

   property or patents to or from third parties.

           68.     Analysis or valuations of acquisitions or potential acquisitions of companies or



                                                   13
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                                   CERTIFICATE OF SERVICE

            I, Melanie K. Sharp, Esquire, hereby certify that on May 4, 2023, I caused a copy of

   Plaintiff Sight Sciences, Inc.’s Notice of Deposition of Alcon Inc. Pursuant to Fed. R. Civ. P.

   30(B)(6) to be served on the following counsel of record in the manner indicated below:

   BY E-MAIL
    John W. Shaw                                 Gregg LoCascio
    Andrew E. Russell                            Justin Bova
    Nathan R. Hoeschen                           Steven Dirks
    Shaw Keller LLP                              Socrates L. Boutsikaris
    I.M. Pei Building                            Kirkland & Ellis LLP
    1105 North Market Street, 12th Floor         1301 Pennsylvania Avenue, N.W.
    Wilmington, DE 19801                         Washington, DC 20004
    jshaw@shawkeller.com                         gregg.locascio@kirkland.com
    arussell@shawkeller.com                      justin.bova@kirkland.com
    nhoeschen@shawkeller.com                     steven.dirks@kirkland.com
                                                 socrates.boutsikaris@kirkland.com

                                                 Kat Li
                                                 Jeanne M. Heffernan
                                                 Austin C. Teng
                                                 Ryan J. Melde
                                                 Kirkland & Ellis LLP
                                                 401 Congress Avenue
                                                 Austin, TX 78701
                                                 kat.li@kirkland.com
                                                 jheffernan@kirkland.com
                                                 austin.teng@kirkland.com
                                                 ryan.melde@kirkland.com

                                                 Ryan Kane
                                                 Laura Zhu
                                                 Kirkland & Ellis LLP
                                                 601 Lexington Avenue
                                                 New York, NY 10022
                                                 ryan.kane@kirkland.com
                                                 laura.zhu@kirkland.com


                                              /s/ Melanie K. Sharp
                                        Melanie K. Sharp (No. 2501)

   30352047.1
Case 1:21-cv-01317-GBW-SRF Document 271 Filed 08/15/23 Page 27 of 45 PageID #: 9920




                           EXHIBIT 4
Case 1:21-cv-01317-GBW-SRF Document 271 Filed 08/15/23 Page 28 of 45 PageID #: 9921
Case 1:21-cv-01317-GBW-SRF Document 271 Filed 08/15/23 Page 29 of 45 PageID #: 9922
Case 1:21-cv-01317-GBW-SRF Document 271 Filed 08/15/23 Page 30 of 45 PageID #: 9923




                           EXHIBIT 5
Case 1:21-cv-01317-GBW-SRF Document 271 Filed 08/15/23 Page 31 of 45 PageID #: 9924


        From:                                   Frank, Noah S.
        To:                                     Strosnick, Lauren; Teng, Austin C.; DeLucia, Nathaniel Louis; Armon, Orion; Bova, Justin; Rhyu, Michelle;
                                                Madrigal, Angela R.; *msharp@ycst.com; Hallowell, Taylor E.; *jhiggins@ycst.com; Murdter, David; Wood,
                                                Alissa; Douglas, Jeannine; Gibbs, Tracy; z/Sight Sciences Ivantis; Radovanovich, Alyssa M.
        Cc:                                     SKIvantis; #Alcon-SightSciences
        Subject:                                RE: Sight Sciences v. Ivantis - Deposition scheduling
        Date:                                   Friday, July 7, 2023 9:48:02 AM


    Counsel,

    We confirm a start time of 10am CT / 8am PT for Mr. McAuley’s remote deposition. He will be sitting
    in Minneapolis.

    We provided Ms. Truitt’s availability almost two weeks ago and you rejected the offered date but
    suggested no alternate dates. Please provide dates the week of July 31 when you are available.

    Regards,

    Noah Frank
    ------------------------------------------------------------
    KIRKLAND & ELLIS LLP
    200 Clarendon Street, Boston, MA 02116
    T +1 617 385 7570
    F +1 617 385 7501

    1301 Pennsylvania Avenue, N.W., Washington, D.C. 20004
    T +1 202 389 5235
    F +1 202 389 5200
    ------------------------------------------------------------
    noah.frank@kirkland.com




    From: Strosnick, Lauren <lStrosnick@cooley.com>
    Sent: Thursday, July 6, 2023 4:31 PM
    To: Teng, Austin C. <austin.teng@kirkland.com>; DeLucia, Nathaniel Louis
    <nathaniel.delucia@kirkland.com>; Armon, Orion <oarmon@cooley.com>; Bova, Justin
    <justin.bova@kirkland.com>; Rhyu, Michelle <RHYUMS@cooley.com>; Madrigal, Angela R.
    <AMadrigal@cooley.com>; *msharp@ycst.com <msharp@ycst.com>; Hallowell, Taylor E.
    <THallowell@ycst.com>; *jhiggins@ycst.com <jhiggins@ycst.com>; Murdter, David
    <dmurdter@cooley.com>; Wood, Alissa <amwood@cooley.com>; Douglas, Jeannine
    <jdouglas@cooley.com>; Gibbs, Tracy <tgibbs@cooley.com>; z/Sight Sciences Ivantis
    <zSightSciencesIvantis@cooley.com>; Radovanovich, Alyssa M. <ARadovanovich@ycst.com>
    Cc: SKIvantis <SKIvantis@shawkeller.com>; #Alcon-SightSciences <Alcon-
    SightSciences@kirkland.com>
    Subject: RE: Sight Sciences v. Ivantis - Deposition scheduling
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                               Be cautious, particularly with links and attachments.
Case 1:21-cv-01317-GBW-SRF Document 271 Filed 08/15/23 Page 32 of 45 PageID #: 9925

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    Counsel,

    We intend to take Mr. McAuley’s deposition remotely on Tuesday, July 11. Please confirm that he
    will be sitting in Minneapolis for his deposition, and that a start time of 10am CT / 8am PT works.

    Additionally, please provide Catherine Truitt’s availability for deposition in August. (See 6/26/23 N.
    Frank Email.)

    Thanks,
    Lauren

    Lauren Strosnick
    Direct: +1 650 843 5065


    From: Teng, Austin C. <austin.teng@kirkland.com>
    Sent: Wednesday, July 5, 2023 2:56 PM
    To: Strosnick, Lauren <lStrosnick@cooley.com>; DeLucia, Nathaniel Louis
    <nathaniel.delucia@kirkland.com>; Armon, Orion <oarmon@cooley.com>; Bova, Justin
    <justin.bova@kirkland.com>; Rhyu, Michelle <RHYUMS@cooley.com>; Arora, Priya
    <PArora@cooley.com>; Madrigal, Angela R. <AMadrigal@cooley.com>; *msharp@ycst.com
    <msharp@ycst.com>; Hallowell, Taylor E. <THallowell@ycst.com>; *jhiggins@ycst.com
    <jhiggins@ycst.com>; Murdter, David <dmurdter@cooley.com>; Vanderwall, Cameron C.
    <cvanderwall@cooley.com>; Wood, Alissa <amwood@cooley.com>; Douglas, Jeannine
    <jdouglas@cooley.com>; Gibbs, Tracy <tgibbs@cooley.com>; z/Sight Sciences Ivantis
    <zSightSciencesIvantis@cooley.com>; Radovanovich, Alyssa M. <ARadovanovich@ycst.com>
    Cc: SKIvantis <SKIvantis@shawkeller.com>; #Alcon-SightSciences <Alcon-
    SightSciences@kirkland.com>
    Subject: RE: Sight Sciences v. Ivantis - Deposition scheduling

    [External]

    Counsel,

    Pursuant to the Judge Fallon's July 3, 2023 Order, Defendants designate Stephen McAuley on the
    limited scope of Topics Iv-71/Al-69 and Iv-72/Al-70 regarding “whether and when any FTO analyses
    regarding the Asserted Patents with respect to the Accused Products occurred.”

    Best regards,
    Austin

    Austin Teng
    -----------------------------------------------------
    KIRKLAND & ELLIS LLP
    401 Congress Avenue, Austin, TX 78701
    T +1 512 355 4351 M +1 214 444 8364
    F +1 512 678 9101
    -----------------------------------------------------
Case 1:21-cv-01317-GBW-SRF Document 271 Filed 08/15/23 Page 33 of 45 PageID #: 9926




                           EXHIBIT 6
                           (excerpted)
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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF DELAWARE

  SIGHT SCIENCES, INC.,                              )
                                                     )        C. A. No.: 21-1317-GBW-SRF
                 Plaintiff,                          )
                                                     )        JURY TRIAL DEMANDED
                              v.                     )
                                                     )
  IVANTIS, INC., ALCON RESEARCH LLC,                 )
  ALCON VISION, LLC AND ALCON INC.,                  )
                                                     )
                 Defendants.                         )

           PLAINTIFF SIGHT SCIENCES, INC.’S OBJECTIONS AND RESPONSES
           TO DEFENDANTS’ THIRD SET OF INTERROGATORIES (NOS. 11-18)

          Pursuant to Rule 26 and 33 of the Federal Rules of Civil Procedure and the Local Rules of

   this Judicial District, Plaintiff Sight Sciences, Inc. (“Sight Sciences”) hereby responds to

   Defendants Ivantis, Inc., Alcon Research LLC, Alcon Vision, LLC, and Alcon Inc.’s

   (“Defendants”) Third Set of Interrogatories (Nos. 11-18), dated March 31, 2023.

                                      GENERAL RESPONSES

          1.      Sight Sciences’ response to the Interrogatories is made to the best of Sight

   Sciences’ present knowledge, information, and belief. This response is at all times subject to

   such additional or different information that discovery or further investigation may disclose and,

   while based on the present state of Sight Sciences’ recollection, is subject to such refreshing of

   recollection, and such additional knowledge of facts, as may result from Sight Sciences’ further

   discovery or investigation.

          2.      Sight Sciences reserves the right to make any use of, or to introduce at any hearing

   and at trial, information and/or documents responsive to the Interrogatories but discovered

   subsequent to the date of this response, including, but not limited to, any such information or

   documents obtained in discovery in this action.



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   Sight Sciences will respond to each Interrogatory according to its ordinary meaning, without

   reference to Defendants’ usage statements.

                           SPECIFIC OBJECTIONS AND RESPONSES

          Without waiving or limiting in any manner any of the foregoing General Objections, but

   rather incorporating them into each of the following responses to the extent applicable, Sight

   Sciences responds to the specific Interrogatories in Defendants’ Third Set of Interrogatories as

   follows:

   INTERROGATORY NO. 11:

          In light of Your response to Defendants’ Interrogatory Number 4 stating that “Ivantis’s

   infringement began as of the date of the first commercial offer for sale of the Accused Product”

   for the ’482, ’443, and ’361 patents and “as of the date of issuance of the ’742 patent” for the ’742

   patent, explain in detail why Sight Sciences, Inc. did not file this case until September 16, 2021

   against Ivantis, Inc. for alleged infringement of the ’482, ’443, ’361, and ’742 patents. Your answer

   should also include an Identification of the Person(s) most knowledgeable about Your answer and

   an Identification of Documents that relate to or support Your answer.

   RESPONSE TO INTERROGATORY NO. 11:

          Sight Sciences incorporates by reference its General Responses and Objections. Sight

   Sciences further objects to this Interrogatory to the extent that it seeks information protected by

   the attorney-client privilege, attorney work product doctrine, or any other applicable privilege or

   protection from discovery, or to the extent it seeks a legal conclusion or legal analysis and would

   implicate the mental impressions of counsel to provide a proper response.

          Subject to the foregoing general and specific objections, Sight Sciences responds as

   follows:

          Sight Sciences made an initial public offering (“IPO”) of stock in mid-July, 2021. Prior to

   its IPO,




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   cadaver, animal, and human testing, including but not limited to versions that may have varying

   dimensions or that reside entirely within Schlemm’s canal or that extend into and through the

   trabecular meshwork, or that are drug eluting.

                                                                                           .

          The Sight Sciences individuals materially involved in these efforts were Paul Badawi,

   David Badawi, and Dan O’Keeffe.

          Pursuant to Federal Rule of Civil Procedure 33(d), Sight Sciences further identifies the

   following exemplary documents from which information responsive to this Interrogatory may be

   ascertained:   SGHT0008228-265; SGHT0024384-433; SGHT0032673-702; SGHT0135731;

   SGHT0024316-333;          SGHT0024334-383;            SGHT0131937-981;        SGHT0131989-039;

   SGHT0132041-090;          SGHT0132125-174;            SGHT0135732-782;        SGHT0022881-883;

   SGHT0026411-414; SGHT0160170-SGHT0161677.

          Discovery is ongoing and Sight Sciences reserves the right to amend, supplement or

   otherwise change its response to this Interrogatory, including by asserting additional theories,

   arguments, contentions, or other evidence uncovered during fact and expert discovery.
   INTERROGATORY NO. 14:

          Explain in detail all of Your factual and legal bases for why You contend the Helix

   Microstent is a Covered Product, describing your contention for each Asserted Claim on a claim-

   by-claim and element-by-element basis.

   RESPONSE TO INTERROGATORY NO. 14:

          Sight Sciences incorporates by reference its General Responses and Objections. Sight

   Sciences further objects to this Interrogatory to the extent that it seeks information protected by

   the attorney-client privilege, attorney work product doctrine, or any other applicable privilege or

   protection from discovery, or to the extent it seeks a legal conclusion or legal analysis and would

   implicate the mental impressions of counsel to provide a proper response. Sight Sciences further

   objects that this Interrogatory seeks information that is irrelevant to the claims and defenses at

   issue in this case. Sight Sciences further objects that this Interrogatory is overbroad, unduly


                                                    20
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   burdensome, and not proportional to the needs of the case, including to the extent it calls for a

   “claim-by-claim and element-by-element” analysis as to why the Helix Microstent is a Covered

   Product. See, e.g., Leader Techs. Inc. v. Facebook Inc., C.A. No. 08-862-JJF-LPS, 2009 WL

   3021168, at *2 (D. Del. Sept. 4, 2009) (“[I]t would be unduly burdensome to require [Plaintiff],

   as the patentee, to produce detailed claim charts showing precisely how its products practice each

   of the asserted claims. This case is fundamentally about whether [Defendant] infringes [Plaintiff’]s

   patent, not about whether Plaintiff practices its own patent.”); Beckman Coulter, Inc. v. Sysmex

   Am., Inc., C.A. No. 18-6563, 2019 WL 10250941, at *2-3 (D. Del. Aug. 12, 2019) (holding that it

   was not proportional to the needs of the case to require patentee to provide a “burdensome claim

   by claim analysis” of its own products).

          Subject to the foregoing general and specific objections, Sight Sciences responds as

   follows:

          Sight Sciences has used the term “Helix” generally to refer to a series of prototype supports.

   Prototype
         y designs have included




   See, e.g., SGHT0160201; SGHT0160313; SGHT0160349-355; SGHT0160358; SGHT0160395;

   SGHT0160444; SGHT0161641.




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          Discovery is ongoing and Sight Sciences reserves the right to amend, supplement or

   otherwise change its response to this Interrogatory as the company’s stent development process

   continues.

   INTERROGATORY NO. 15:
          Describe in detail Your licensing policy/policies or marketing program(s) concerning the

   Asserted Patents, including, for example, documents, reports, or presentations that outline the

   circumstances under which you license Your Intellectual Property. Your answer should also

   include an Identification of the Person(s) most knowledgeable about Your answer and an

   Identification of Documents that relate to or support Your answer.

   RESPONSE TO INTERROGATORY NO. 15:

          Sight Sciences objects to this Interrogatory to the extent it seeks information protected by

   the attorney-client privilege, the work product doctrine, or any other applicable privilege or

   protection from discovery, or to the extent it seeks a legal conclusion or legal analysis and would

   implicate the mental impressions of counsel to provide a proper response.

          Sight Sciences objects to this Interrogatory on the grounds that it is vague and ambiguous

   to the extent that Defendants’ invalidity contentions purport to identify “exemplary” evidence of

   its licensing policy/policies or marketing program(s).

          Sight Sciences objects that this Interrogatory is compound and consists of multiple

   subparts, and Sight Sciences reserves the right to object to this and future interrogatories on the

   ground that Defendants have exceeded the permissible number of interrogatories.

          Subject to the foregoing general and specific objections, Sight Sciences responds as

   follows:

                                                                                                  and


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   capacity include Paul Badawi, Mark Papini, and Sam Park. Sight Sciences additionally reserves

   the right to rely upon the opinion testimony of one or more lay or expert witnesses.

          Discovery is ongoing and Sight Sciences reserves the right to amend, supplement or

   otherwise change its response to this Interrogatory, including by asserting additional theories,

   arguments, contentions, or other evidence uncovered during fact and expert discovery.


                                          YOUNG CONAWAY STARGATT & TAYLOR, LLP

                                                       /s/ Melanie K. Sharp
                                          ____________________________________________
                                          Melanie K. Sharp (No. 2501)
                                          James L. Higgins (No. 5021)
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   Dated: May 1, 2023




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                                   CERTIFICATE OF SERVICE

            I, Melanie K. Sharp, Esquire, hereby certify that on May 1, 2023, I caused a copy of

   Plaintiff Sight Sciences, Inc.’s Objections and Responses to Defendants’ Third Set of

   Interrogatories (Nos. 11-18) to be served on the following counsel of record in the manner

   indicated below:

   BY E-MAIL
    John W. Shaw                                 Gregg LoCascio
    Andrew E. Russell                            Justin Bova
    Nathan R. Hoeschen                           Steven Dirks
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                                              /s/ Melanie K. Sharp
                                        Melanie K. Sharp (No. 2501)
   30342432.1
Case 1:21-cv-01317-GBW-SRF Document 271 Filed 08/15/23 Page 41 of 45 PageID #: 9934




                           EXHIBIT 7
@                                                               @
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